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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION

 SAMANTHA ALARIO, et al.,                            CV 23-56-M-DWN
              Plaintiff,                             CV 23-61-M-DWN

 TIKTOK INC.,
                                              UNOPPOSED MOTION OF THE
              Consolidated Plaintiff;            INSTITUTE FOR FAMILY
 V.
                                              STUDIES FOR LEAVE TO FILE
                                                AMICUS CURIAE BRIEF IN
 AUSTIN KNUDSEN, in his official               OPPOSITION OF PLAINTIFF
 capacity as Attorney General of the               AND CONSOLIDATED
 State of Montana,                             PLAINTIFFS’ MOTIONS FOR
                                               PRELIMINARY INJUNCTION
              Defendant.


I.    INTRODUCTION

       Pursuant to Local Rule 7.5(b), the Institute for Family Studies (“IFS”) files

 its Unopposed Motion for Leave to File an Amicus Curiae Brief ("Motion") and

 respectfully move for leave to file an amicus brief in opposition of the plaintiffs

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 and consolidated plaintiffs’ motions for preliminary injunctions in these

 consolidated cases (Doc. Nos. 11, 17). In accordance with Local Rule 7.l(c) and as

 agreed to by all parties (Doc. No. 19), counsel for all parties have been contacted,

 and no party opposes this Motion. If leave is granted, proposed amicus is prepared

 to file its brief by September 14, 2023.

II.    AMICUS'S INTEREST IN THIS MATTER

      As the preeminent research institute on the American family, IFS has

achieved excellence in its work identifying relationships between the institution of

the family and social and economic phenomena. Its work has been featured in the

New York Times, Wall Street Journal, Washington Post, the Atlantic, and countless

other publications. Colleagues of our researchers continually refer to our work to

advance family studies. The Institute for Family Studies encourages state

legislators to consider the wealth of evidence that social media, and especially

TikTok, are harmful for American youth.

       The IFS believes that Montana’s law is the best way to protect Montana’s

 children from the harm TikTok poses. Even as smartphone use and the negative

 effects of social media increased several times over when Facebook bought

 Instagram, so too has TikTok taken the digital lives of American youths into

 unprecedented territory. TikTok, though only a relatively recent entrant into the

 U.S. social media market, presents a particular danger for America’s youth. Since

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it was acquired by ByteDance in 2017 and evolved from Musical.ly in 2018,

TikTok has dominated users’ time, quickly surpassing all other possible platforms

in downloads and duration.

      IFS supports SB419 without reservation. Social media companies have

failed to protect underaged users, and TikTok is particularly dangerous for their

mental health due to its addictive qualities and intention to radicalize users and

creators. Ultimately, content is much less controllable and trustworthy on TikTok

than on any other social media platform.

      Given the claims raised by Plaintiffs, this case is existential to those efforts

and at the core of the IFS’s mission to protect children online. Thus, the IFS seeks

relief to participate as an amicus curiae.

III. THE PROPOSED AMICUS BRIEF IS RELEVANT AND DESIRABLE

      Pursuant to Local Rule 7.5(b)(2)(D), a prospective amicus must "state why

an amicus brief is desirable and relevant, including why the parties cannot

adequately address the matter.” D. Mont. L.R. 7.5(b)(2)(D). As the Ninth Circuit

has held, a court “has broad discretion to appoint amici curiae.''' Hoptowit v. Ray,

682 F.2d 1237, 1260 (9th Cir. 1982). In determining whether to grant an amicus’s

Motion, the Court should consider whether the brief “supplement[s] the efforts of

counsel, and draw[s] the court’s attention to law that escaped consideration.”

Miller-Wohl Co., Inc. v. Comm’r of Labor & Indus. Mont., 694 F.2d. 203, 204 (9th

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 Cir. 1982). As this Court stated when granting Plaintiffs’ amici’s motion, “amicus

 briefing may be helpful to provide unique information and perspective beyond

 that provided by the parties.” Doc. No. 30.

       The IFS provides such unique perspective. Senior fellows are family

 scholars at different universities around the country. Several years ago, because

 of the extraordinary effect that social media was having on American families—

 particularly, American adolescents—IFS undertook an effort to study the problem

 and to provide policy papers offering solutions that we discovered therein.

      In August 2022, with the Ethics and Public Policy Center, we released,

“Protecting Teens from Big Tech: Five Policy Ideas for States,” which provided the

policy cornerstone of the State of Utah’s recent legislation, The Social Media

Regulation Act, and several other bills in different states modeled after it. In

October 2022, we released, “Teens and Tech: What Difference Does Family

Structure Make?” by Jean Twenge, Professor of Psychology at San Diego State

University, et al, which surveyed 1,600 U.S. tweens and teens, ages 11 to 18, who

were attending 5th through 12th grade in May 2022. The Teens and Tech Survey,

fielded by Ipsos, covered a range of topics related to media consumption, family

structure, and the mental health of adolescents. In short, we found that heavy tech

usage was associated with negative mental health outcomes. In June 2023, with the

Ethics and Public Policy Center, we released, “Age Verification: Policy Ideas for

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States,” on how states could balance effective implementation with the need to

preserve user privacy. Finally, in July 2023, we released the research brief, “More

Scrolling, More Marital Problems: Less Sex, More Divorce Worries for Couples

Distracted by Phones.” We have also published several dozen editorials on how

social media is affecting family life in general.

      Our work has led us to the conclusion that having access to TikTok is bad for

America’s teens and we seek to provide this perspective for the Court’s

consideration.

IV.   TIMING OF AMICUS BRIEF


       This Motion is timely.       On July 5, 2023, TikTok and the individual

 plaintiffs filed their respective motions for preliminary injunction and supporting

 briefs. See Dkt. Nos. 11-18. That same day, all parties filed a Joint Motion for

 Schedule for Briefing and Hearing on Plaintiffs' and Consolidated Plaintiff's

 Motions for Preliminary Injunction. Dkt. No. 19. Pursuant to that joint motion, the

 parties agreed that motions for leave to file amicus briefs opposing Plaintiff’s

 injunction should be submitted on or before September 1, 2023. Recently, the Court

 granted Plaintiff’s amici motion to file an amici brief due 14 days after filing their

 motion and granting them a word limit of 4,000 words. Dkt. No. 32. In equity,

 the Institute request the same relief as those amici.



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I.    CONCLUSION


     For all the foregoing reasons, IFS respectfully moves this Court for leave to

file an amicus brief in opposition of the plaintiffs’ and consolidated plaintiffs’

motions for preliminary injunctions in these consolidated cases, which will be no

more than 4,000 words and due no later than 14 days after the filing of this Motion,

by September 14, 2023.




                                                          Respectfully submitted,
Dated: September 1, 2023
                                                           /s/ Abby Jane Moscatel
                                                        Abby Jane Moscatel, Esq.
                                                      Blacktail Law Group, PLLC

                                                      Attorney for Amicus Curiae,
                                                       Institute for Family Studies




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                        CORPORATE DISCLOSURE
                             STATEMENT

      Pursuant to Local Rule 7.5(b)(2)(B), Amicus Curiae Institute for Family

Studies (“IFS”) files this Corporate Disclosure Statement, which complies with

the requirements of Federal Rule of Civil Procedure 7.1.

      The Institute hereby discloses that it is a 50l(c)(4) District of Columbia

organization, and has no parent corporation, nor does any publicly held corporation

own 10% or more of its stock.


                                                         Respectfully submitted,
Dated: September 1, 2023
                                                          /s/ Abby Jane Moscatel
                                                       Abby Jane Moscatel, Esq.
                                                     Blacktail Law Group, PLLC

                                                      Attorney for Amicus Curiae,
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                            CERTIFICATE OF
                             COMPLIANCE

      I certify that the foregoing Unopposed Motion for Leave to File Amici

Curiae Brief, including the Corporate Disclosure Statement, contains 1028

words, exclusive of caption and certificates of service and compliance.



                                                      Respectfully submitted,
Dated: September 1, 2023
                                                       /s/ Abby Jane Moscatel
                                                    Abby Jane Moscatel, Esq.
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                       CERTIFICATE OF SERVICE

     The undersigned hereby certifies that on September 1, 2023, a true and

correct copy of the foregoing Motion for Leave to File Amicus Curiae Brief

was filed by hand served via Federal Express Next Day upon the following:

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